Case 6:13-cv-O6113-EAW-|\/|WP Document 13

UN|TED STATES D|STR|CT COURT
WESTERN D|STR|CT OF NEW YORK

 

JALAAL PEOPLES, 95B2699;

TA|WAN LOWMACK, 12B0866;
RlCHARD LAWRENCE, 043350;

ZAY lVlCKENZ|E, O1A0506; and

ALL OTHERS lN THE SA|V|E S|TUAT|ON,

Plaintiffs,
_V..

BR|AN F|SHER, Commissioner of NYS DOCCS;
CHERYL MORR|S, Director of Family and
Ministerial Services; PAUL CHAPP|US,
Superintendent at E|mira C.F.; JOHN

lVllZGALA, Dep. Supt. of Program Services

at E|mira C.F. and SAYED AF|FY, islamic
Chaplain at E|mira C.F.;

Defendants.

 

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13-cv-6113ch(P)

 

 

Plaintiffs filed this action under 42 U.S.C. § 1983 on February 27, 2013 and

plaintiffs were granted poor person status. The complaints were served by the United

States Marshal’s Service. Assistant Attorney Genera| in Charge, Debra A. Martin,

signed the acknowledgment of service on May 16, 2013, making the Answers due on

July 16, 2013, or 60 days later per the Court’s Standing Order. Plaintiff’s attempted to

raise the lack of timely answer, but were informed that the Court’s Standing Order

allowed the defendants’ 60 days to answer. When defendants did not answer after 60

days, plaintiffs’ requested appointment of counsel, because the defendants “refuse to

answer,” among other reasons. Defendants did not request an extension of time to

 

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answer until October 24, 2013, nearly three months after the deadline to answer. Entry

of a default appears to be in order:

The plain language of Rule 55(a) however does not mandate that a
default be entered only upon plaintiff's request but rather implies
that however a district court ultimately becomes aware of a party's
default, the clerk must enter default. See Fed. R. Civ. P. 55(a).
A|though Rule 55(a) contemplates that entry of a default is a
"ministerial" step to be performed by the clerk of court, a district
court judge also possesses the inherent power to enter a default.
Beller& Ke//er v. Ty/er, 120 F.3d 21, 22 n.1 (2d Cir. 1997); [**3]
see also Pinaud v. Cnty. of Suffolk, 52 F.3d 1139, 1152 n.11 (2d
Cir. 1995) (describing "the entry of default" as "largely a formal
matter"). The district court did not err in entering default against the
defendants

Peterson v. Syracuse Police Dep't, 467 Fed. Appx. 31, 33 (2d Cir. N.Y. 2012).

The Clerk of Court is directed to enter default in this matter.

so oRDERED.
Dated; /\rél// , 2013

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cHANJ£s J_ sLRAGusA
United States District Judge

 

